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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION

   NEREIDA CINTRON,

               Plaintiff,
                                              Case No. 3:21-cv-937-MMH-JBT
   vs.

   CREDIT CONTROL SERVICES,
   INC. d/b/a CREDIT COLLECTION
   SERVICES,

               Defendant.
                                       /


                                      ORDER

         THIS CAUSE is before the Court sua sponte.           This case is hereby

   transferred to the Honorable Gregory A. Presnell, United States District Judge,

   Middle District of Florida, Orlando Division, with his consent and to conduct all

   further proceedings.

         DONE AND ORDERED in Jacksonville, Florida this 4th day of

   November, 2021.
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   Copies to:

   Counsel of Record




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